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                                                                                FILED
                                                                    United States Court of Appeals
                      UNITED STATES COURT OF APPEALS                        Tenth Circuit

                            FOR THE TENTH CIRCUIT                             May 12, 2025
                        _________________________________
                                                                          Christopher M. Wolpert
                                                                              Clerk of Court
D.B.U., on behalf of themselves and others
similarly situated; R.M.M., on behalf of
themselves and others similarly situated,

       Petitioners - Appellees,

v.                                                         No. 25-1164
                                                  (D.C. No. 1:25-CV-01163-CNS)
DONALD J. TRUMP, in his official                             (D. Colo.)
capacity as President of the United States;
PAMELA J. BONDI, Attorney General of
the United States in her official capacity;
KRISTI NOEM, Secretary of the U.S.
Department of Homeland Security, in her
official capacity; U.S. DEPARTMENT OF
HOMELAND SECURITY; TODD M.
LYONS, Acting Director of U.S.
Immigration and Customs Enforcement, in
his official capacity; U.S. IMMIGRATION
AND CUSTOMS ENFORCEMENT;
MARCO RUBIO, Secretary of State, in his
official capacity; U.S. STATE
DEPARTMENT; ROBERT GAUDIAN,
Director of the Denver Field Office for
U.S. Immigration and Customs
Enforcement, in his official capacity;
DAWN CEJA, Warden, Denver Contract
Detenetion Facility, in her official capacity,

       Respondents - Appellants.
                      _________________________________

                                     ORDER
                        _________________________________
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       This matter is before the court on Appellants’ Motion for Voluntarily Dismissal.

Upon consideration, the motion is granted. See 10th Cir. R. 27.5(A)(9) and Fed. R. App.

P. 42(b).

       A copy of this order shall stand as and for the mandate of the court.


                                             Entered for the Court



                                             CHRISTOPHER M. WOLPERT, Clerk




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